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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES - GENERAL
 Case No.          CV 20-11799 FMO (GJSx)                                 Date     April 14, 2022
 Title             Jun Wu v. Ruixue Shi et al




 Present: The Honorable           Fernando M. Olguin, United States District Judge
            Gabriela Garcia                             Maria Bustillos                     None
                Deputy Clerk                     Court Reporter / Recorder                 Tape No.
           Attorney Present for Plaintiff(s):                   Attorney Present for Defendant(s):
                 Jeffrey Fazio (telephone)                                 None Present
                    Yi Yao (telephone)
 Proceedings:               MOTION TO CERTIFY CLASS [34]

                            MOTION FOR DEFAULT JUDGMENT [40]

       The court and counsel confer regarding the Motion to Certify Class. The Motion to Certify
Class (Document No. 34) is denied without prejudice for the reasons set forth on the record.

      The Motion for Default Judgment (Document No. 40) is denied without prejudice for the
reasons set forth on the record.

        The plaintiff shall file renewed motions no later than May 5, 2022. To the extent plaintiff
files a renewed motion for default judgment, he shall set forth all requested relief, e.g., damages
and attorney’s fees. Failure to file the renewed motions by the deadline set forth above shall result
in the action being dismissed for failure to prosecute. See Fed. R. Civ. P. 41(b); Link v. Wabash
R.R. Co., 370 U.S. 626, 629-30, 82 S.Ct. 1386, 1388 (1962))

         IT IS SO ORDERED.




                                                                                     00      :      29
                                                            Initials of Preparer           gga

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